 

 

Case 19-35736 Document 1 Filed in TXSB on 10/10/19 Page 1 of 4

Fill in this. information to identify the case:

   

United States Bankruptcy Court for the:
. ee

Souther \__ District of CHAS

(State) . |

Chapter _[f

| () Check if this is an
amended filing

Case number (if known):

 

Official Form 205
Involuntary Petition Against a Non-Individual 12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if
known).

Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

 

 

4. Chapter of the Check one:

Bankruptcy Code
[} Chapter 7

SX Chapter 11

 

| Identify the Debtor

 

 

 

 

: 2. Debtor’s name Vete ci nics} Care } Fe,
| 3. Other names you know | lL | a Vi te| Be
| the debtor has used in co

the last 8 years

 

 

include any assumed
names, trade names, or
doing business as names.

_4, Debtor’s federal
"Employer Identification Gl Unknown

Number (EIN) Yo-031413% 44

 

 

EIN
Principal pl f busi ili if di
-s Debtor’s address pal place of business Mailing address, if different
loo E, [°° Street
Number Street Number Street

 

 

 

 

 

 

P.O, Box
Humble. Ty. 19338
City Staté «ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Harris

County

 

Number Street

 

 

City State ZIP Code

Official Form 205 Involuntary Petition Against a Non-individual page 1
Case 19-35736 Document 1 Filed in TXSB on 10/10/19 Page 2 of 4

 

. ; 5 .
Debtor Vele Cs Aa Core 1 Tn C.- Case number (it known),

Name

 

6. Debtor’s website (URL)

IX Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
O) Partnership (excluding LLP)
C1 other type of debtor. Specify:

7. Type of debtor

| 8. Type of debtor’s

 

 

 

 

 

business Check one:
() Health Care Business (as defined in 11 U.S.C. § 101(27A))
L) Single Asset Real Estate (as defined in 41 U.S.C. § 101(51B))
() Railroad (as defined in 11 U.S.C. § 101(44))
UO Stockbroker (as defined in 11 U.S.C. § 101(53A))
() Commodity Broker (as defined in 11 U.S.C. § 4101(6))
U) Clearing Bank (as defined in 11 U.S.C. § 781(3))
none of the types of business listed.
C] Unknown type of business.
9. To the best of your 4 No
knowledge, are any
bankruptcy cases L) Yes. Debtor Relationship
pending by or against Distr Date filed c ber tk
any partner or affiliate istrict ate file obo TVW ase number, if known
of this debtor?
Debtor Relationship
District Date filed Case number, if known.
MM /DD/YYYY

ee Report About the Case

 

10. Venue Check one:

Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

(I A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

11. Allegations Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
. fide dispute as to liability or amount.

C) Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

42. Has there beena }x(No
: transfer of any claim Q ;
against the debtor by or Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy

to any petitioner? Rule 1003(a).

Official Form 205 Involuntary Petition Against a Non-Individual page 2
7 '
Case 19-35736 Document 1 Filed in TXSB on 10/10/19 Page 3 of 4

 

 

 

Debtor Vete re ney Cor ec kn a. Case number (if known)
Name
43. Each petitioner’s claim Name of petitioner Nature of petitioner’s claim Amount of the claim
above the value of
any lien :

  

Warren Resell DVM, Ficeimigeery Note; bla 000. :
Names tt Kelly. Dv, fromiesecy Nete 535-0 go
Larry IN. Wook hovm. Prom Sony Nite , 225 con. "|

 

Total of petitioners’ claims 5 ] 370 ocd," =
i i ‘

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
additional! petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative's) signature,
along with the signature of the petitioner’s attorney.

 

Request for Relief

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b ). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.

Petitioners or Petitioners’ Representative Attorneys

Name and mailing address of petitioner

Warren Resell DUM Kichocdé L. FUR

Name t Printed name

5427 Grocled Oakes C4. Fue@ne* N540 Coates C6

. Firm namé, if
Number Street irm name, if any

Humble. Ty. TAIAU(, SSSK Ke by Freee why Ate. 114

City State ZIP Code Number Street

bu us ton Te Tore

City Statef ZIP Code

 

Name and mailing address of petitioner’s representative, if any

 

conact prone IZ -A80-02-T Fmei REE WQUAl FUBUALE Git Ci
Bar number O7 S53 O«>

eee
State ( € 44D

Name

 

Number Street

 

City ~ State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executedon / & {yj f oes f

MM #DD FYYYY

: x é ‘s/ Were en Kese}{ ANU AA

Signature & petitioner or representative, including representative's title Date signed © Lo z
a ec MM 7 DD a

Official Form 205 Involuntary Petition Against a Non-Individual page 3

  

Signature of attorney
 

 

Case 19-35736 Document 1 Filed in TXSB on 10/10/19 Page 4 of 4

am» Weterinecy Care ,

fame

Namo and mailing address of potitioner

Joimers te ee (ly, “Dali

Name

Pe 50k Dowalos | Luke Aor w ho ee

Nuniber Steel
wr

pe
City —~ Grate / ZIP

P Code

OD Us hon

Namo and mailing address of potitioner’s represantative, if any

Name

flumber Sheet

City mee TTT ZIP Code

1 declare under penalty of pegury that ihe foregoing is true and correct,

€xecuted on

MM PDD PDD TYYYY —

Ke /s/> Jemes, (Fea Ile DVm®

Snalave of ‘petitioner of representative, including repress prtative's tile

Namo and mailing address of potitioner

Lacey. ps. Wood PVM

Name

eile ist, Loi lo
43946

Number Steet
ZIP Code

Son Antonio. ly
S Ste at

city

Name and mailing address of petitioner's ropresontative, IFany

Name

Humber “Street

City ~ Slate ZP Ged

i declare under penalty of perjury that the foregoing is trae and correct,

Executedon oo
MM FDO TYYYY

x a L DP)
Signa of pottione/ or ropiesentative, ing Jtuding 1aptesc seotabye's tO

Official Form 205

 

TAG.

ay ef) JN Og
x /- \ UR , sacneeh

Case number (fanae)

fAs chwed & LL yu FUE

finted name

Fuoue A Aerociahes ¢, Ce.

Firm name, ifany 4

sy5xk bi ! Freeway, Ste. 4 {_

Number Street

£ TO T7402

£ bo uebon —— ghoh—~ rei?

Centact phone “LIZ 4-4 0-03 ot ema L LEUQUAM F ud uateag). Com,
Bar number OL 591-420 a

State Le $4 noe

 

Signature of allorney

(b [10 Le-2/4

MM/TDD AYYYY

Date signed

Printed name

Fugue * D5 470.¢ vale e4 CC.

Fiem ert] ifany \

25 5% Ket Y. EF VEEN weeg ate. iM
Jue by

ZIP Cade

Ric) C Nea Le ULE Up

Pret ULo}on)

city State

Contact phone V9 ~' - Ld: QL 1] emote Fugan@fuauntes gels ( bi)
Bar number Of 54 7 Dd. Qk).

State “le é wee

 

Signature of attorney

Date signe! v/ 0 4
Date signed /v fe ? /4

0 Py

involuntary Petiion Against a Non-individnal page 4
